        Case
         Case2:10-cr-00284-APG-PAL
               2:10-cr-00284-RLH-PAL Document
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 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3

 4 UNITED STATES OF AMERICA,                        )
                                                    )
 5                Plaintiff,                        ) Case No. 2:10-CR-284-RLH-PAL
                                                    )
 6         v.                                       )
                                                    )
 7 PATRICIA BASCOM,                                 )
                                                    )
 8                Defendant.                        )
 9

10                                    ORDER TO VACATE JUDGMENT
                                         DEBTOR EXAMINATION
11

12         This cause came before the Court on Plaintiff’s Motion to Vacate, and good cause appearing.
13         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiffs’ Motion to Vacate

14 Supplementary Proceedings (Judgment Debtor Examination) scheduled for October 24, 2014 at 9:00a.m.

15 be granted.

16

17

18                              October 17,
           DATED this day of __________________ 2014.
19
                                                              _______________________________
20                                                            United States Magistrate Judge
21

22 SUBMITTED BY:

23 DANIEL G. BOGDEN
   United States Attorney
24

25 /s/ Brian Pugh
   BRIAN PUGH
26 Assistant United States Attorney
